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iN THE UN|TED STATES D|STR|CT COURT 55 jz
FOR THE WESTERN D|STRICT OF TENNESSEE ijifi- d 1511 f `
WESTERN DlV|SlON "‘ ' `

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”311 1;;1`

Plaintiff

VS.
CR. NO. 05-20021-[)

DEREK VVR|GHT,
QUENT|N WR|GHT

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER!OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on April 19, 2005. At that time, counsel forthe
defendant requested a continuance of the Nlay 2, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to Ju|y 5, 2005 with a gm
date of Thursdav. June 30. 2005. at 9:00 a.m., in Courtroom 3. 9th F|oor ofthe Federal
Building, Memphis, TN.

The period from May 13, 2005 through July 15, 2005 is excludable under 18 U.S.C.
§ 3161(h)(8)(B)(iv) because the ends ofjustioe served in allowing for additional time to
prepare outweigh the need for a speedy trial.

|T |S SO ORDERED this O'{[§ day Of Apri|, 2005.

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This doct.ment entered on the docket sh et in compliance
with ama 55 and/or serial FHorP on LL_"¢Z '05

   

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Honorable Bernice Donald
US DISTRICT COURT

